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                  Exhibit L




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                                                                                                                                                                    SUM-100
                                                   SUMMONS                                                                                    FOR COURT USE ONLY
                                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                           (CITAC/ON JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 Aircraft Service International,Is,a _D~aware
                                         I       corporation; Menzies Aviation (USA), Inc.,
     e aware corporation; Tracy Aguilar, an individual; and DOES 1 through 50, inclusive.

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

   Geary Sha, an individual

NOTICE! You have been sued. The court may decide against you without your being heard un!ess you respond within 30 days. Read the information
be!ow.
   You have 30 CALENDAR DAYS after this summons and ]egal papers are served on you to fi!e a written response at this court and have a copy
served on the p!aintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can ftnd these court forms and more information at the Ca]ifornia Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fi!ing fee, ask the
court c!erk for a fee waiver form. If you do not fi!e your response on time, you may ]ose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other lega] requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be e!igib!e for free legal services from a nonprofit ]ega] services program. You can ]ocate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcallfornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.govselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wi]I dismiss the case.
IAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informacidn a

  Tiene 30 DIAS DE CALENDARIO despucs de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copfa al demandante. Una carta o una Ilamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mis informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
bib/ioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacibn, pida al secretario de la corte que
le d6 un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podr6
quitar su sueldo, dinero y bienes sin mis advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios /ega/es gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                                cASE NUMseR:
The name and address of the court is:                                                                           (N6mero del Caso):
(EI nombre y direccibn de la corte es): Civic Center Courthouse
                                        400 McAllister St
                                                                                                                                             CGC-23-606989
                                        San Franc[sco, CA 94102
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre, la direcci6n y el n(imero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Gary S. Brotman (SBN 287726), Marquee Law Group, A.P.C. 9100 Wilshire Blvd. Ste. 445 East Tower, Beverly HII[s, CA 90212; (310) 275-1844
DATE:                                                                                     Clerk, by                                                                  Deputy
(Fecha) 06/13/2023                                                                        (Secretario)                     MARK UDAN                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use e/ formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                     1.          as an individual defendant.
                                     2.   0      as the person sued under the fictitious name of (specify):

                                     3.    —] on beha!f of (specify): AirCraft SerVICe International InC., a Delaware Corporation
                                          [X
                                           under: ®      CCP 416.10 (corporation)                                                    CCP 416.60 (minor)
                                                  ~      CCP 416.20 (defunct corporation)                                     0      CCP 416.70 (conservatee)
                                                  ~      CCP 416.40 (association or partnership)                                     CCP 416.90 (authorized person)
                                                  ~      other (specify):
                                     4.   =      by personal delivery on (date):
                                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                                Code of Civil Procedure §§ 412.20, 465
                                                                           SUMMONS
  Judiclal Council of California                                                                                                                                  www.courts.ca.gov
  SUM-100 [Rev. July 1, 2009]
                              pCease pre§stheCtear
For your.protection'andpr(vacy;
                                                                                                                                                       Page 154
                                                                :.. .............~...................~... ..
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 1
     F. Shawn Azizollahi (SBN 268116)
 2   shawn@marqueelaw.com                                                          ELECTRONICALLY
     Gary Brotman (SBN 287726)                                                         FILED
 3   gary@marqueelaw.com                                                           Superior Court of Californl
                                                                                    County of San Francisco
     MARQUEE LAW GROUP, A Professional Corporation
 4
     9100 Wilshire Boulevard, Suite 445 East Tower                                     06/09/2023
                                                                                    CBerM          ANourt
 5   Beverly Hills, California 90212                                                        ARK~
     (310) 275-1844 telephone                                                                      D®puty Cle
 6   (310) 275-1801 fax
 7
     Attorneys for Plaintiff
 a   Geary Sha
 9
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
lo
                                   COUNTY OF SAN FRANCISCO
11

12
     GEARY SHA, an individual;                       ) Case No.:
13                                                                                       CGC-23-6061,189
                                                     )
                    Plaintiff,                       ) COIVIPLAINT FOR:
14
            VS.
15                                                       1. Disability Discrimination in Violation of
                                                            Cal. Gov. Code Section 12900 et seq.;
16   AIRCRAFT SERVICE INTERNATIONAL,                     2. Harassment and Hostile Work
     INC., a Delaware corporation; MENZIES                  Environment in Violation of Cal. Gov.
17
     AVIATION (USA), INC. a Delaware                        Code Section 12900 et seq.;
ls   corporation; TRACY AGUILAR, an                      3. Failure to Prevent Discrimination and
     individual; and DOES 1 through 50, inclusive.          Harassment in Violation of Cal. Gov.
19                                                          Code Section 12900 et seq.;
                     Defendants.                         4. Retaliation in Violation of Cal. Gov.
20
                                                            Code Section 12900 et seq.;
21                                                       5. Wrongful Termination In Violation of
                                                            Public Policy (Count I); and
22
                                                         6. Wrongful Termination In Violation of
23                                                          Public Policy (Count II).

24

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                                              COMPLAINT

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 1     Plaintiff alleges:
 2                                                   PARTIES

 3             1.      Plaintiff, Geary Sha ("Plaintiff' herein), is, and at all relevant times was, a
 4     resident of Vallejo, California.
 5             2.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
 6     Aircraft Service International, Inc. ("ASI") is, and at all relevant times was, a corporation
 7     organized and existing under the laws of the state of Delaware, qualified to do business in the
 s     state of California, with its principal place of business located at 3500 William D Tate Avenue,
 9     Suite 200, Grapevine, Texas 76051.
lo             3.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
11     Menzies Aviation (USA), Inc. ("Menzies") is, and at all relevant times was, a corporation
12     organized and existing under the laws of the state of Delaware, qualified to do business in the
13     state of California, with its principal place of business located at 4900 Diplomacy Road, Fort
14     Worth, Texas 76155.
15             4.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
16     Tracy Aguilar is, and at all relevant times was, a resident of San Francisco, California. At all
17     relevant times, Aguilar was the Human Resources Manager for Menzies Aviation who controlled
ls     the work conditions for Plaintiff.
19             5.      Plaintiff is ignorant of the true names and capacities of the defendants sued herein
20     as DOES 1 through 50, inclusive, and therefore sues these defendants by such fictitious names.
21     Plaintiff will amend this Complaint to allege the true names and capacities of said defendants
22     when ascertained. Plaintiff is informed and believes, and based thereon allege, that each of the
23     fictitiously named defendants is responsible in some manner for the occurrences herein alleged,
24     and that Plaintiff's damages as herein alleged were proximately caused by said defendants. (ASI,
25     Menzies, and DOES 1 through 50 shall collectively herein be referred to as "Defendants").
26             6.      At all relevant times herein, Defendants employed Plaintiff, within the meaning oi
27 .   California Government Code § 12926(d). Plaintiff was employed by Defendants and worked at
28     Defendant's office located at 730 North McDonnell Road, San Francisco, CA 94128 until, as


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                                                    COMPLAINT

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 1   alleged herein, Plaintiff's employment was terminated on or about January 3, 2023 for unlawful
 2   reasons in violation of the California Fair Employment and Housing Act ("FEHA," California
 3   Government Code § 12900 et seq.) and in violation of California public policy.

 4           7.      Unless otherwise alleged in this Complaint, Plaintiff is informed and believes, ar.
 5   I based thereon alleges, that each of the Defendants sued herein was, at all relevant times hereto,
 6   the employer, owner, principal, franchisee, proxy, agent, employee, supervisor, representative,
 7   manager, managing agent, joint employer, and/or alter ego of the remaining Defendants, and was
 e   acting, at least in part, within the course and scope of such employment and agency, with express
 9   and implied permission, consent, and knowledge. The above Defendants, managing agents, and

lo   supervisors aided, abetted, condoned, permitted, willfully ignored, approved, authorized, and/or
11   ratified the unlawful acts described herein, and each and every one of the acts and omissions
12   alleged herein were performed by, and/or are attributable to all Defendants.
13

14                                            JURISDICTION
15           8.      Plaintiff is informed and believes, and based thereon alleges, that at all times
16   herein mentioned, Defendants, and each of them, were doing business in the State of California
17   such that the exercise of jurisdiction by this Court would not be inconsistent with the

ls   Constitution of the State of California and/or the United States of America.

19           9.      This Court has jurisdiction over this action pursuant to California Code of Civil

20   I Procedure Section 410.10.
21           10.     The total amount in controversy for claims of Plaintiff is more than Twenty-Five

22   Thousand Dollars ($25,000). In addition, Plaintiff asserts no claims under federal law, with all
23   causes of action named herein being based exclusively under California law.
24

25                                                 VENUE
26           11.     Plaintiff is informed and believes, and based thereon alleges, that venue is proper
27   in San Francisco County because Defendants, and each of them, have conducted business within
2s



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                                                 COMPLAINT

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1    the County of San Francisco and a substantial portion of the wrongful acts complained of
2    occurred therein.

 3

 4                                     GENEIIAL ALLEGATIONS
 5          12.     Plaintiff alleges and incorporates herein by this reference each and every

 6   allegation set forth in all previous paragraphs of this Complaint.
 7   Plaintiff's Employment:

 s          13.     Defendants employed Plaintiff from on or about May 29, 2018 until on or about

 9   January 3, 2023 (the "Employment Period").

lo          14.     ASI is a flight support company which provides a wide array of services to

11   commercial aircraft. ASI offers refueling services to aircraft on the ground as well as ground
12   handling services including baggage and cargo handling and transfer services. ASI is also
13   responsible for providing cabin and lounge cleaning as well as jetway de-icing services. ASI
14   operates around the country and beyond.

15          15.     Similarly, Menzies, in conjunction with ASI, provides ground, fueling, and cargo

16   services to commercial aircraft. In or about 2017, Menzies acquired ASI, who now operates in

17   California under the fictitious business name Menzies aviation. At all relevant times herein, both

18   Menzies and ASI jointly managed and controlled Plaintiff's wages, hours, work schedule, and

19   work conditions.

20           16.    Plaintiff was a hard-working and successful Operations/General Manager, who

21   carried out his duties effectively and was excited to work for Defendants. That is, until

22   Defendants turned against Plaintiff when he suffered from a temporary disability and required
23   several months of inedical leave.
24   Plaintiffs Protected Status:
25           17.    Plaintiff is a 36-year-old male who suffered from a temporary physical disability.

26   Plaintiff had to have two heart valve surgeries and suffered complications from the first,
27   including a stroke that temporarily disabled Plaintiff's right side of the body. Plaintiff went out
2s   on medical leave for several months to recover and was ultimately wrongfully terminated for


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                                            r       I




 1   discriminatory and retaliatory reasons, i.e., for belonging-to a protected class and for engaging in
 2   protected activities. Consequently, Plaintiff is a protected employee, as defined under California
 s   Law. (See. Cal. Gov't Code § 12940, et seq.).

 4   Plaintiffs Job Performance:
 s           18.     Plaintiff was an exemplary employee of Defendants throughout the entirety of the
 6   Employment Period. Plaintiff never received any negative performance evaluations and was
 7   promoted to his managerial position with ease.
 s   Defendants' Harassing, Discriminatory, and Retaliatory Conduct:
 9           19.     In or about February 2022, Plaintiff requested and received approval from

io   Defendants for a medical leave of absence pursuant to the Family Care Medical Leave Act

ii   ("FMLA") because Plaintiff needed to have heart valve surgery. Plaintiff's FMLA leave was
12   approved from February 11, 2022 through May 7, 2022. Because of Plaintiff's condition, he had
Zs   scheduled heart surgery for on or about February 11, 2022 and anticipated about one month for
14   recovery time, assuming the procedure was successful.
15           20.     Unfortunately, Plaintiff suffered complications during this first surgery and nearly
16   lost his life during the procedure. The day after this surgery, on or about February 12, 2022,
17   Plaintiff was transferred to a different hospital to properly perform the heart valve surgery and

is   correct complications from the first surgery. As a result of the first surgery completely shutting

19   the left valve of Plaintiff's heart and cutting off the blood supply to that portion of his heart,

20   Plaintiff received a Left Ventricular Assisting Device ("LVAD") during this second procedure

21   which would open and shut the valve on the left side of Plaintiff's heart properly.
22           21.     Further, due to the complications from the first surgery resulting in a lack of

2s   blood flow in Plaintiff's heart, Plaintiff suffered a stroke which disabled the right side of his
24   body. Plaintiff was temporarily unable to move his right arm and right leg; he could not walk nor
25   write. Plaintiff notified Defendants of his condition and his FMLA leave was extended until on
26   or about May 7, 2022.
27           22.     On or about April 7, 2022 Plaintiff was seen by his doctor who extended
2s   Plaintiff's medical leave to absence through September 19, 2022. He was prescribed the use of a


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                                                  COMPLAINT

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 1   cane or wheelchair during this time as he continued his physical therapy and recovery. A human
 2   resources representative from Defendants, Tracy Aguilera, responded to Plaintiff's new request
 3   to extent his medical leave stating, "I'm glad to hear you are doing well." On April 14, 2022
 4   Plaintiff received approval of his request for extended medical leave from Defendant's Leave of

 5   Absence/Return to Work Specialist Patricia Gibson.

 6          23.       Just before Plaintiff was set to return on September 20, 2022, Plaintiff's doctors
 7   discovered that Plaintiff's heart had made an unexpected recovery. Plaintiffls heart began to

 s   function properly and no longer needed the LVAD. Thus, Plaintiff's doctors informed him that

 9   the LVAD needed to be removed and provided him with a new doctor's note requesting one last

lo   extension to his medical leave through December 19, 2022, in order for Plaintiff to have one

11   final procedure to remove the LVAD. Plaintiff's doctors scheduled the surgery in or about

12   October 2022 to remove the device and extended Plaintiff's leave until December 19, 2022.
13   Plaintiff's requested extension was once again approved by Defendants.
14          24.       On or about December 20, 2022, Plaintiff drove into work, excited that he was

15   able to continue working and that his heart had recovered, only to receive a phone call from
16   Defendants' human resources manager Tracy Aguilar ("Aguilar"), who told Plaintiff, for the first

17   time, that his position had been eliminated during his leave and that he would no longer be

ls   General Manager. Plaintiff was in complete shock and disbelief. He asked what he was supposed

19   to do, and Aguilar responded by telling Plaintiff he could come back to an entry level job as an

20   aircraft fueler or cargo handler. Plaintiff would have to go from a salaried position making over

21   $100,000 per year, to an hourly role making less than $20.00 per hour. Plaintiff felt that these job
22   offers were a slap in the face as he would have to come back to a position making less than half

23   of his old hourly rate and be managed by the team members he used to manage before taking
24   medical leave.
25          25.       Plaintiff told Aguilar that financially he could not accept an entry level position

26   and that he wanted to come back in a managerial role comparable to the Operations/General
27   Manager role Plaintiff held prior to going on medical leave. Aguilar told Plaintiff that he had
2s   until on or about December 23, 2022 to accept one of those positions and if he did not then


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 1   Aguilar would terminate Plaintiff's employment as a"voluntary resignation." Plaintiff reiterated
 2   he was not resigning, and again asked to return to his old role or a comparable managerial role in I

 3   another department.
 4          26.      Plaintiff had a meeting with Aguilar on December 23, 2022. Aguilar sent a recap

 5   email that same day reiterating that Plaintiff had stated he financially cannot accept the entry

 6   level positions offered to him. Aguilar set up a"final meeting" with Plaintiff for December 28,
 7   2022 for him to "reconsider accepting one of the positions being offered." Aguilar further

 s   informed Plaintiff that "If you do not attend the meeting, I will then accept your voluntary

 9   resignation."

lo          27.      Plaintiff inet with Aguilar again on December 28, 2022, where he maintained that

11   he deserved to comeback to a comparable role and reiterated that he would not resign. Aguilar
12   then sent Plaintiff an email stating that Plaintiff verbally refused the entry-level positions offered
13   to him again. Aguilar then listed four (4) managerial positions within Menzies and/or ASI, but
14   each position was out of state (Illinois, Toronto, or Texas), and Defendants informed Plaintiff
15   that "there are no relocation funds available." Moreover, the positions were not simply offered to
16   Plaintiff, but he was told by Aguilar that he would need to apply and interview for any position
17   he was interested in. Aguilar gave Plaintiff two (2) days to make a decision and concluded her

18   email by stating "Failure to respond, I will accept this as your voluntary resignation."

19           28.     On or about December 29, 2022, Plaintiff emailed Aguilar stating that he needed

20   more than two (2) days to consider relocating his entire family to another state, and again stated

21   "I do not resign or voluntarily resign, and it feels threaten when you say this (sic)."
22           29.     Aguilar would respond via email this very same day once again stating that

23   Plaintiff had refused the entry-level jobs in San Francisco, and that she had offered him some
24   managerial positions for which he would "have [to] interview and be considered, if [he]
25   qualif[ies]." Aguilar gave Plaintiff until January 3, 2023 to make a decision, and told Plaintiff
26   that if he did not accept one of the entry level jobs in San Francisco by January 3, 2023 then she
27   would "have no choice but to terminate [Plaintiff's] employment as a voluntary
28   resignation/refused worked (sic)."


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 1           30.     On or about January 3, 2023, Plaintiff sent Aguilar an email saying that he could
 2   not apply for the out of state jobs as he could not move his family across (or out of) the country,
 3   and that he could not financially take the entry level laborer jobs offered in San Francisco since i

 4   would cut his pay in half. Yet again, Plaintiff stated that he was not resigning and that he felt thal

 5   Aguilar was forcing Plaintiff to take these jobs menial jobs and/or resign and was being treated
 6   this way because of his medical leave. Aguilar responded the same day, and instead of
                                                                                                 c
 7   addressing Plaintiff's concerns of disparate treatment or attempting to help Plaintiff, Aguilar seni
 8   Plaintiff a change in status form wrongfully terminating his employment. Aguilar selected that

 9   Plaintiff voluntarily resigned and refused work on the change of status form.
lo   Exhaustion ofAdministrative Remedies:
11           31.    At all applicable times mentioned herein, Defendants regularly employed five or
12   more persons in California, bringing Defendants subject to the provisions of the Fair
13   Employment and Housing Act ("FEHA").
14           32.    Plaintiff has adequately exhausted all of his administrative remedies under the
15   FEHA and obtained a valid "right to sue" letter against Defendants from the Department of Fair

16   Employment and Housing.

17

18                                     FIRST CAUSE OF ACTION
19            (Disability Discrimination in Violation of Cal. Gov. Code Section 12900 et seq.

20                           by Plaintiff Against ASI, Menzies, and Does 1-50)
21          33.     Plaintiff alleges and incorporates herein by this reference each and every
22   allegation set forth in all previous paragraphs of this Complaint.
23          34.     There existed an employer-employee relationship between Plaintiff and

24   Defendants during the Employment Period and, at all times herein, Plaintiff was duly qualified
25   and performed her employment duties in a satisfactory manner.
26          35.     Because FEHA requires only a"limitation" on a major life activity, evidence of a
27   temporary or short-term impairment qualifies an employee as disabled under FEHA, thereby
28



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 1   affording said employee the protections provided to disabled persons under FEHA. (Diaz v. Fed.
 2   Express Corp., (2005) 373 F.Supp.2d 1034, 1051-1052).
 3            36.    Plaintiff suffered from a physical disability and is a member of a protected class
 4   within the meaning of FEHA and is entitled to its guarantees of full and equal access to
 5   employment.
 6            37.    It is unlawful for an employer to discriminate against an employee based on the
 7   employee's "race, religious creed, color, national origin, ancestry, physical disability, mental
 8   disability, medical condition, genetic information, marital status, sex, gender, gender identity,
 9   gender expression, age, sexual orientation, or military and veteran status of any person" or to
lo   "discharge the person from employment... or to discriminate against the person in compensation
11   or in terms, conditions, or privileges of employment." (Cal. Gov't Code § 12940(a)).
12            38.    Plaintiff was, at all times herein, an "employee" covered by California
13   Government Code § 12900 et seq.
14            39.   Defendants were at all relevant times hereto "employers" within the meaning of
15   California Government Code § 12900 et seq.
16            40.   Plaintiff's physical disability and/or other characteristics protected by FEHA were
17   motivating factors in Defendant's adverse treatment of Plaintiff, as set forth in detail herein
18   above.
19            41.   Plaintiff has performed competently and has gone above and beyond in his
20   position, has suffered an adverse employment action, and the circumstances give rise to the
21   discriminatory conduct from Defendants.
22            42.   As alleged herein above, Plaintiff suffered from a physical disability that resulted
23   in several heart surgeries and a stroke that disabled the right side of his body. Plaintiff would
24   suffer from surgical complications which resulted in his medical leave being extended through
25   December 2022. Upon attempting to return to work in December 2022, Defendants informed
26   Plaintiff, for the first time, that his position had been eliminated while he was out on medical
27   leave. Defendants then offered Plaintiff entry level laborer positions with a pay cut of over 50%,
28   or managerial positions out of state for which Plaintiff would have to apply and interview for,


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 1   I I and no relocation fees would be provided. Defendants told Plaintiff that if he refused to accept
 2    one of these positions then they would terminate his employment, and that is exactly what they
 3    did. On January 3, 2023, Defendants sent Plaintiff a change of status form wrongfully
 4    contending that Plaintiff had voluntarily resigned and refused work, thereby terminating his
 5   I I employment.
 6            43.      Defendants' conduct as alleged herein violated FEHA and Defendants committed
 7    unlawful employment practices, including, without limitation, discriminating against Plaintiff by
 8    materially affecting the terms and conditions of his employment, in whole or in part on the basis
 9    of Plaintiff's mental disability in violation of California Government Code § 12900 et seq.
lo            44.      As a direct, foreseeable, and proximate result of Defendants' actions, Plaintiff has
11    suffered and continues to suffer aggravation of his injuries, substantial losses in earnings and job
12    benefits, humiliation, emotional distress, and physical and mental pain and anguish all to his
13    damage in a sum according to proof at the time of trial.
14            45.      Plaintiff has incurred and continues to incur legal expenses and attorneys' fees
15    pursuant to Government Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys'
16    fees and costs in an amount according to proof at the time of trial.
17            46.      Defendants' conduct was willful, knowing, malicious, intentional, and done in
18    reckless disregard of the damaging consequences to Plaintiff. Defendants' conduct evidenced a
19    conscious disregard of Plaintiff's rights. Plaintiff is thus entitled to recover actual, compensatory,
20    punitive, and exemplary damages in amounts according to proof at time of trial.
21

22                                      SECOND CAUSE OF ACTION
23      (Harassment and Hostile Work Environment in Violation of Cal. Gov. Code Section 12900 et
24                            seq. by Plaintiff Against Defendants and Does 1-50)
25            47.      Plaintiff alleges and incorporates herein by this reference each and every
26   allegation set forth in all previous paragraphs of this Coinplaint.
27

28



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                                                   COMPLAINT

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 1             48.     There existed an employer-employee relationship between Plaintiff and
 2     Defendants during the Employment Period and, at all times herein, Plaintiff was duly qualified
 3     and performed her employment duties in a satisfactory manner.

 4             49.     Plaintiff suffered from a disability during the Employment Period and was a
 5     member of a protected class within the meaning of the FEHA and is entitled to its guarantees of

 6     full and equal access to employment.
 7             50.     It is unlawful for an employer to harass an employee based on the employee's
 a     "race, religious creed, color, national origin, ancestry, physical disability, mental disability,
 9     medical condition, genetic information, marital status, sex, gender, gender identity, gender

10     expression, age, sexual orientation, or military and veteran status of any person." Harassinent of

11     an employee "shall be unlawful if the entity, or its agents or supervisors, knows or should have

12     known of this conduct and fails to take immediate and appropriate corrective action. (Cal. Gov't
13     Code § 12940(j)). Even discriminatory personnel/management decisions of the employer can
14 I   provide the basis for a harassment or hostile work environment claim. (Roby v. McKesson Corp.
15     (2009) 47 Cal.4th 686, 707; See also Miller v. Department of Corrections (2005) 36 Ca1.4th
16     446.)
17             51.     Plaintiff was at all times herein an "employee" covered by Cal. Gov. Code §

1s     12900 et seq. Defendants were at all relevant times hereto "employers" within the meaning of

19     Cal. Gov. Code § 12900 et seq.

20             52.    Plaintiff's disability and/or other characteristics protected by FEHA were

21     motivating factors in Defendant's adverse treatment of Plaintiff.
22             53.    As described herein above, during Plaintiff's employment, Defendants, and each

23     of them and/or their agents or employees engaged in a pattern and practice of unlawful
24     harassment in violation of FEHA. Defendants harassed Plaintiff via the actions of Aguilar, who
25     acting in her capacity as an agent and employee of ASI and Menzies, repeatedly (i) sought to
26     obstruct Plaintiff's return to work, (ii) continually threatened Plaintiff with his "voluntary
27     resignation" despite multiple written statements from Plaintiff that he would not resign, (iii) gave
2s     Plaintiff unrealistic deadlines for which to decide whether to take over a 50% pay cut or relocate


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                                                    COMPLAINT

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 1   his family across or to another country, (iv) ignored and failed to investigate Plaintiff's claim of
 2   disparate treatment based upon his disability/medical leave, and (v) instead responded by

 3   terminating Plaintiff's employment.

 4           54.     The harassment and hostile work environment as alleged herein was such that a

 5   I reasonable woman in Plaintiff's circumstances would have considered the work environment to

 6   be hostile, intimidating, offensive, oppressive, and/or abusive.
 7           55.     Defendants knew or should have known of Aguilar's conduct but continued to

 s   allow her to continue to harass, threaten, belittle, and humiliate Plaintiff without any disciplinary

 9   action, thereby creating a hostile, intimidating, offensive, oppressive, and abusive work

lo   enviromnent.
11           56.     As a direct, foreseeable, and proximate result of Defendant's actions, Plaintiff has I
12   suffered and continues to suffer aggravation of her injuries, substantial losses in earnings,
13   benefits, humiliation, emotional distress, and physical and mental pain and anguish all to her
14   damage in a sum according to proof at the time of trial.
15           57.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees

16   I pursuant to Cal. Gov. Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys' fees
17   and costs in an amount according to proof at the time of trial.

18           58.     Defendant's conduct was willful, knowing malicious intentional, and done in

19   reckless disregard of the damaging consequences to Plaintiff. Defendant's conduct evidences a

20   conscious disregard of Plaintiff's rights. Plaintiff is thus entitled to recover actual, compensatory,
21   punitive, and exemplary damages in amount according to proof at the time of trial.
22

23                                      THIRD CAUSE OF ACTION

24       (Failure to Prevent Discrimination and Harassment in Violation of Cal. Gov. Code Section
25                     12900 et seq. by Plaintiff Against ASI, Menzies, and Does 1-50)
26           59.     Plaintiff alleges and incorporates herein by this reference each and every
27   I allegation set forth in all previous paragraphs of this Complaint.
28



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 1               60.     At all relevant times, there existed an employer-employee relationship between
 2       I Plaintiff and Defendants.
 3               61.     At all relevant times, Defendants were employers who regularly employed five or
 4       more persons within the meaning of California Government Code § 12900 et seq.
 5               62.     At all applicable times herein, Gov. Code § 12900 et seq. was in full force and
 6       effect and binding on Defendants.
 7               63.     California law requires that employers take reasonable steps to prevent and
 e       correct wrongful behavior, including, but not limited to, harassing and discriminatory behavior.
 9       (See Gov. Code § 12940(k)) (In it unlawful "For an employer... to fail to take all reasonable

lo       steps necessary to prevent discrimination and harassment from occurring.")). Pursuant to this
11       statute, Defendants were required to take all reasonable steps to prevent discrimination and
12       harassment against Plaintiff based on Plaintiffs disability and/or other protected characteristics.
13               64.     As alleged herein above, throughout the Employment Period, Defendants failed to
14       prevent Defendants and their agents, supervisors, employees, and others from engaging in
15       intentional actions that resulted in Plaintiff being treated less favorably because of Plaintiff's

16       protected status (i.e., disability). Plaintiff complained of the disparate treatment he suffered due
17       to his disability/request for medical leave. Rather than investigate and/or remediate the matter,

ls       Defendants responded via the wrongful termination of his employment.

19
     i
                 65.     Plaintiff is informed and believes, and based thereon alleges, that his disability

20       and/or other characteristics protected by FEHA were substantial motivating factors in
     I
21       Defendants' adverse treatment of Plaintiff. Despite knowing its legal obligations, Defendants did
22       nothing to prevent the rampant discrimination and harassment that Plaintiff suffered.
23               66.     Defendants knew, or reasonably should have known of the other Defendants and

24       their agents, supervisors and employees' unlawful discrimination of Plaintiff, and that
25       Defendants should have restrained such other Defendants from engaging in such conduct.
26               67.     As a direct, foreseeable, and proxiinate result of Defendants' actions, Plaintiff has
27       suffered and continues to suffer aggravation of his injuries, substantial losses in earnings and job
2s



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 1        benefits, humiliation, emotional distress, and physical and mental pain and anguish all to his
 2 I      damage in a sum according to proof at the time of trial.
 3               68.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees
 4        pursuant to Government Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys'

 5 !      fees and costs in an amount according to proof at the time of trial.
 6               69.     Defendants' conduct was willful, knowing, malicious, intentional, and done in
 7        reckless disregard of the damaging consequences to Plaintiff. Defendants' conduct evidenced a
 s' conscious disregard of Plaintiff's rights. Plaintiff is thus entitled to recover actual, compensatory,
 9        punitive, and exemplary damages in amounts according to proof at time of trial.

10

11                                        FOURTH CAUSE OF ACTION
   I
12 !                (Retaliation in Violation of Cal. Gov. Code Section 12900 et seq. by Plaintiff
13                                      Against ASI, Menzies, and Does 1-50)

14 ,             70.     Plaintiff alleges and incorporates herein by this reference each and every

15        allegation set forth in all previous paragraphs of this Complaint.

16 i             71.     At all relevant times, there existed an employer-employee relationship between

17    I   Plaintiff and Defendants.

ls II            72.     At all relevant times, Defendants were employers who regularly employed five or

19    I more persons within the meaning of California Government Code § 12900 et seq.

20               73.     At all applicable times herein, Gov. Code § 12900 et seq. was in full force and

21        effect and binding on Defendants.
22               74.     California Government Code § 12940(h) provides that it is unlawful to retaliate

23        against a person "because the person has opposed any practices forbidden under [Government
24        Code Sections 12900-12966]". It is also unlawful to retaliate or otherwise discriminate against a
25        person for requesting an accommodation for disability, regardless of whether the accommodation
26        was granted. (See Cal. Gov't Code § 12940(m)(2)).
27               75.     As alleged herein above, Plaintiff requested a medical leave of absence pursuant
PIl       to the FMLA in or about February 2022 for him to obtain a necessary heart surgery. Plaintiff


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 1   would suffer from surgical complications which resulted in his medical leave being extended
 2   through December 2022. Upon attempting to return to work in December 2022, Defendants
 3   retaliated against Plaintiff for his extended medical leave by informing him, for the first time,

 4   that his position had been eliminated while he was out on medical leave. Defendants then offered
 5   Plaintiff entry level laborer positions with a pay cut of over 50%, or managerial positions out of
 6   state for which Plaintiff would have to apply and interview for, and no relocation fees would be
 7   provided. Defendants told Plaintiff that if he refused to accept one of these positions then they
 s   would terminate his employment, and that is exactly what they did. On January 3, 2023,

 9   Defendants committed their final retaliatory act via the wrongful termination of his employment.

lo           76.     As a proximate result of Defendants' actions, Plaintiff has suffered and continues
11   to suffer aggravation of his injuries, substantial losses in earnings and job benefits, humiliation,
12   emotional distress, and physical and mental pain and anguish all to his damage in a sum
13   according to proof at the time of trial.
14           77.    Plaintiff has incurred and continues to incur legal expenses and attorneys' fees
15   pursuant to Government Code § 12965(b). Plairitiff is entitled to recover reasonable attorneys'
16   fees and costs in an amount according to proof at the time of trial.
17           78.    Defendants' conduct was willful, knowing, malicious, and intentional and done in

ls   reckless disregard of the damaging consequences to Plaintiff. Defendants' conduct evidenced a

19   conscious disregard of Plaintiff's rights. Plaintiff is thus entitled to recover actual, coinpensatory,

20   punitive, and exemplary damages in amounts according to proof at time of trial.
21

22                                      FIFTH CAUSE OF ACTION
23       (Wrongful Termination in Violation of Public Policy (Count I) By Plaintiff Against ASI,

24                                         Menzies, and Does 1-50)

25          79.     Plaintiff alleges and incorporates herein by this reference each and every
26   allegation set forth in all previous paragraphs of this Complaint.
27          80.     At all relevant times herein, there existed an employer-employee relationship
28   between Plaintiff and Defendants during the Employment Period.


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                                                  COMPLAINT

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 1           81.     At all relevant times herein, Plaintiff was duly qualified and performed his
 2   I employment duties in a satisfactory manner.
 3           82.     At all relevant times to this action, Government Code § 12900 et seq. was in full
 4   I force and effect and was binding upon Defendants. Government Code § 12900 et seq. prohibits

 5   an employer from retaliating against employees who request a disability related accommodation.
 6   (Cal. Gov't Code § 12900(m)(2)). Government Code § 12900 et seq. evinces a policy that
 7   benefits society at large, was well-established at the time of Plaintiff's discharge, and is
 s   substantial and fundamental.
 9           83.    Plaintiff's requests for and use of FMLA leave and extended medical leave were

lo   substantial motivating reasons for Defendants' decision to terminate Plaintiff's employment.
11           84.    As a direct and proximate result of Defendants' actions, Plaintiff has suffered, and
12   continues to suffer, substantial losses in earnings and other job benefits, and will for a period of
13   time in the future be unable to obtain gainful employment, as Plaintiff's ability to obtain such
14   employment and earning capacity has been diminished. The exact amount of such expenses and
15   losses is presently unknown, and Plaintiff will seek leave to amend this Complaint to the exact
16   amount when it is ascertained.

17           85.    As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

ls   general damages, as Plaintiff was psychologically injured. Such injuries have caused, and

19   continue to cause Plaintiff great mental pain and suffering, humiliation, grief, and anxiety, in an

20   amount more than the jurisdictional limits of this Court.
21           86.    Plaintiff is informed and believes, and based thereon alleges, that Defendants'
22   (including employees, officers, directors, and/or managing agents of Defendants) conduct was
23   willful, knowing, malicious, and intentional and done in reckless disregard of the damaging
24   consequences to Plaintiff. Defendants' conduct evidenced a conscious disregard of Plaintiff's
25   rights. Plaintiff is thus entitled to recover actual, compensatory, punitive, and exemplary
26   damages in amounts according to proof.
27           87.    Plaintiff is informed and believes, and based thereon alleges, that the actions of

29   Defendants' employees, officers, directors, and/or managing agents were undertaken with the


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 1   prior approval, consent, and authorization of Defendants and were subsequently authorized and
 2   ratified by it as well as by and through its officers, directors, and/or managing agents.
 3

 4                                     SIXTH CAUSE OF ACTION
 5                    (Wrongful Termination in Violation of Public Policy (Count II)

 6                           by Plaintiff Against ASI, Menzies, and Does 1-50)

 7           88.    Plaintiff alleges and incorporates herein by this reference each and every

 a   allegation set forth in all previous paragraphs of this Complaint.

 9           89.    At all relevant times herein, there existed an employer-employee relationship

lo   between Plaintiff and Defendants during the Employment Period.
11           90.    At all relevant times herein, Plaintiff was duly qualified and performed his
12   employment duties in a satisfactory manner.

13           91.    At all applicable times herein, California Government Code § 12900 et seq. and
14   California Constitution Art I., § 8 were in full force and effect and binding on Defendants.

15           92.    Defendants' termination of Plaintiff was in violation of fundamental public

16   policies, articulated in Government Code § 12900 et seq. and Article I, § 8 of the California

17   Constitution. Specifically, that the policy behind the prevention of discrimination protects

ls   Plaintiff and the public at large, is substantial and fundamental, was well established at the time

19   of Plaintiff's discharge, and can form the basis of a common law wrongful termination claim.

20   (Stevenson v. Superior Court (Huntington Mem. Hosp.), (1997) 16 Cal.4th 880, 889; Phillips v.
21   St. Mary Regional Medical Center, (2002) 96 Cal.App.4th 218, 227).
22           93.    Plaintiff's disability and/or other protected characteristics were a substantial

23   motivating reason for Defendants' decision to terminate Plaintiff's employment.
24           94.    As a direct and proximate result of Defendants' actions, Plaintiff has suffered, and

25   continues to suffer, substantial losses in earnings and other job benefits, and will for a period of
26   time in the future be unable to obtain gainful employment, as Plaintiff's ability to obtain such
27   employment and earning capacity has been diminished. The exact amount of such expenses and
2s



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                                                 COMPLAINT

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1     losses is presently unknown, and Plaintiff will seek leave to amend this Complaint to the exact
 2   I amount when it is ascertained.
 3           95.       As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

 4    general damages, as Plaintiff was psychologically injured. Such injuries have caused, and
 5    continue to cause Plaintiff great mental pain and suffering, humiliation, grief, and anxiety, in an

 6    amount more than the jurisdictional limits of this Court.
 7            96.      Plaintiff is informed and believes, and based thereon alleges, that Defendants'

 s    (including employees, officers, directors, and/or managing agents of Defendants) conduct was

 9    willful, knowing, malicious, and intentional and done in reckless disregard of the damaging

lo    consequences to Plaintiff. Defendants' conduct evidenced a conscious disregard of Plaintiff s
11    rights. Plaintiff is thus entitled to recover actual, compensatory, punitive, and exemplary
12    damages in amounts according to proof.
13            97.      Plaintiff is informed and believes, and based thereon alleges, that the actions of

14    Defendants' employees, officers, directors, and/or managing agents were undertaken with the
15    prior approval, consent, and authorization of Defendants and were subsequently authorized and
16    ratified by it as well as by and through its officers, directors, and/or managing agents.
17

ls                                          PRAYER FOR RELIEF
19            WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, as

20   I follows:
21                                UNDER THE FIRST CAUSE OF ACTION
22            1. For all compensatory, consequential, general and special damages, subject to proof;
23            2. For punitive damages in an amount to be determined by the Court to be reasonable
24                  under the circumstances of this case;
25            3. For attorney's fees and costs pursuant to Government Code § 12965(b);
26            4. For interest according to law;
27            5. For costs of suit incurred herein; and
2s            6. For such other and further relief that the Court determines to be just and proper.


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 1

 2                      UNDER THE SECOND CAUSE OF ACTION
 3      1. For all coinpensatory, consequential, general and special damages, subject to proof;
 4      2. For punitive damages in an amount to be determined by the Court to be reasonable

 5         under the circumstances of this case;

 6      3. For attorney's fees and costs pursuant to Government Code § 12965(b);
 7      4. For interest according to law;
 s      5. For costs of suit incurred herein; and
 9      6. For such other and further relief that the Court determines to be just and proper.
10

11                        UNDER THE THIRD CAUSE OF ACTION
12      1. For all coinpensatory, consequential, general and special damages, subject to proof;
13      2. For punitive damages in an amount to be determined by the Court to be reasonable
14         under the circumstances of this case;

15      3. For attorney's fees and costs pursuant to Government Code § 12965(b);
16      4. For interest according to law;

17      5. For costs of suit incurred herein; and

ls      6. For such other and further relief that the Court determines to be just and proper.

19

20                      UNDER THE FOURTH CAUSE OF ACTION
21      1. For all compensatory, consequential, general and special damages, subject to proof;
22      2. For punitive damages in an amount to be determined by the Court to be reasonable
23         under the circumstances of this case;
24      3. For attorney's fees and costs pursuant to Government Code § 12965(b);
25      4. For interest according to law;
26      5. For costs of suit incurred herein; and
27      6. For such other and further relief that the Court determines to be just and proper.
2s



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                                              ..      .


 1                                UNDER THE FIFTH CAUSE OF ACTION
 2              1. For all compensatory, consequential, general and special damages, subject to proof;
 3              2. For punitive damages in an amount to be determined by the Court to be reasonable
 4                 under the circumstances of this case;
 5              3. For interest according to law;
 6              4. For costs of suit incurred herein; and
 7              5. For such other and further relief that the Court determines to be just and proper.
 8   I

 9                                UNDER THE SIXTH CAUSE OF ACTION
10              6. For all coinpensatory, consequential, general and special damages, subject to proof;
11 i            7. For punitive damages in an amount to be determined by the Court to be reasonable
12                 under the circumstances of this case;
13              8. For interest according to law;
14              9. For costs of suit incurred herein; and
15 ,            10. For such other and further relief that the Court determines to be just and proper.

16


17


18       Dated: June 8, 2023.                         MARQUEE LAW GROUP, APC

19   I
20                                                    By:
21
                                                            F. Shawn Azizollahi, Esq.
                                                            Gary S. Brotman, Esq.
22                                                          Attorneys for Plaintiff Geary Sha

23


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                                                    COMPLAINT

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1                                   DEIVIAND FOR JURY TRIAL
2           PLAINTIFF hereby demands a jury trial with respect to all issues triable in the
3    Complaint.
 4

5    Dated: June 8, 2023                         MARQUEE LAW GROUP, APC

 6

 7                                               By:
 8
                                                       F. Shawn Azizollahi, Esq.
                                                       Gary S. Brotman, Esq.
 9                                                     Attorneys for Plaintiff Geary Sha

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                                               COMPLAINT

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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):
                                                                                                                                          FOR COURT USE ONLY
  Gary S. Brotman (SBN 287726)
  MARQUEE LAW GROUP, A Professional Corporation                ,
  9100 Wilshire Boulevard, Suite 445 East Tower
 Beverly Hills, California 90212
        TELEPHONE NO.: (310) 275-1844                                FAX N0. (Optional):   (310) 275-1801
           E-MAILADDRESS:          gary@marqueelaw.com                                                                                    ELECTRONICALLY
     ATTORNEY FOR (Name):          Geary Sha

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
                                                                                                                                              FILED
                                                                                                                                         Superior Court of California,
STREET ADDRESS:           400 MoAllister Street                                                                                           County of San Francisco
MAILING ADDRESS:
CITY AND ZIP CODE: San FranclSCo, CA 94102                                                                                                     06/09/2023
                                                                                                                                          Clerk of the Court
      BRANCH NAME: Civic Center Courthouse
                                                                                                                                             BY: MARK UDAtd
CASE NAME:                                                                                                                                             Deputy Clerk
                Geary Sha vs. Aircraft Service International, Inc., et al.
                                                                                      CASENUMBER:
          CIVIL CASE COVER SHEET                 Complex Case Designation                                                                        CGC       -23-606989
®         Unlimited         Limited           =      Counter         0     Joinder
          (Amount           (Amount
                                             Filed with first appearance by defendant JUDGE:
           demanded         demanded is
                                                 (Cal. Rules of Court, rule 3.402)     DEPT.:
          exceeds $25,000)  $25,000 or less)
                              Items 1-6 be/ow must be completed (see instructions on page 2).
       Check one box below for the case type that best describes this case:
      Auto Tort                                   Contract                                                          Provisionally Complex Civil Litigation
      0       Auto (22)                                                       Breach of contract/warranty (06)      (Cal. Rules of Court, ruies 3.400-3.403)
      0     Uninsured motorist (46)                                           Rule 3.740 collections (09)           ~      Antitrust/Trade regulation (03)
      Other Pl/PD/WD (Personal Injury/Property                        0       Other collections (09)                0        Construction defect (10)
      DamagelWrongful Death) Tort                                                                                   ~        Mass tort (40)
                                                                      0       Insurance coverage (18)
      =       Asbestos (04)                                           ~       Other contract (37)                   ~        Securities litigation (28)
      ~       Product liability (24)                                                                                ~     Environmental/Toxic tort (30)
                                                                      Real Property
      ~       Medical malpractice (45)                                                                              0     Insurance coverage claims arising from the
                                                                      0       Eminent domain/Inverse
      ~       Other PI/PD/WD (23)                                                                                         above listed provisionally complex case
                                                                              condemnation (14)
                                                                                                                          types (41)
      Non-PI/PD/WD (Other) Tort                                       ~       Wrongful eviction (33)                Enforcement of Judgment
      0       Business torUunfair business practice (07) ~    Other real property (26)                              0        Enforcement of judgment (20)
      ~       Civil rights (08)                          Unlawful Detainer
                                                                                                                    Miscellaneous Civil Complaint
      ~       Defamation (13)                                         0       Commercial (31)
                                                                                                                    0        RICO (27)
      ~       Fraud (16)                                              0       Residential (32)
                                                                                                                    ~        Other complaint (not specified above) (42)
      ~        Intellectuai property (19)                             ~     Drugs (38)
                                                                                                                    Miscellaneous Civil Petition
      ~        Professional negligence (25)                           Judicial Review
                                                                                                                    ~        Partnership and corporate governance (21)
      ~    Other non-PI/PD/WD tort (35)                               0       Asset forfeiture (05)
                                                                      0       Petition re: arbitration award (11)   ~        Other petition (not specified above) (43)
      Employment
      [Zo7e    Wrongful termination (36)                              ~       Writ of mandate (02)
      0        Other employment (15)                                  ~       Otherjudicial review (39)

2.  This case =       is    F,_._,;i~ is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional     judicial management:
   a.        Large number of separately represented parties           d. 0      Large number of witnesses
   b.        Extensive motion practice raising     difficuit or novel e.        Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                      courts in other counties, states, or countries, or in a federal
   c.        Substantial amount       of documentary  evidence                  court
                                                                      f.        Substantial postjudgmentjudicial supervision
3. Remedies sought (check all that apply): a. 0            monetary b. =      nonmonetary; declaratory or injunctive relief c. [Z;;_0F1 punitive
4. Number of causes of action (specify): 6
5. This case 0       is   ~_,Z is not     a class action suit.
6. If there are any known related cases, flle and serve a notice of related case. (You may use form CM-015.)
Date: June 8, 2023                                                                                     ~
                              (',ary 4 Rrotman                                      —                  u
                                  (TYPE OR PRINT NAME)                                                                  NATURE OF PARTY


 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases fiied
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes oniy.
                                                                                                                                                                            Paae 1 of 2

                                                                                                                               Cal. Rules of Courl, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                                                                                                                           Page 176
Form Adopted for Mandatory Use
   i,,.ri.1ai r,,,,.,~ii..fr.rfn.,.ca                                     CIVIL CASE COVER SHEET                                       rei              ,.r i,,.r~.„oi           ~rd 1 1n
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                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are filing d flrst paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifYs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                     Contract                                           Provislonally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
           DamagelWrongful Death                         Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
        Uninsured Motorist (46) (if the                       Contract (not unawueaner
                                                                                 l fld t i                Construction Defect (10)
         case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
         instead ofAuto)                                 Negligent Breach of ContracU                     Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                            Warranty                                           (arising from provisionally complex
  Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                       case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                                Case                                      Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                   domestic relations)
           toxic%nvironmental) (24)                      complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                               Administrative Agency Award
            Medical Malpractice—                         Other Coverage                                     (not unpaid taxes)
                 Physicians & Surgeons               Other  C   t
                                                              onract     7
                                                                       (3)                              Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                   Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                                  Case
            Premises Liability (e.g., slip           Eminent Domain/Inverse                        Miscellaneous Civil Compla[nt
                 and fall)                               Condemnation (14)                              RICO (27)
            Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                              Other Complaint (not speciried
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)             above) (42)
            Intentional Infliction of                    Writ of Possession of Real Property                 Declaratory Relief Only
                 Emotional Distress                      Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                      Quiet Title                                               harassment)
                  Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                               domain, landlord/tenant, or                          Other Commercial Complaint
  Non-PI/PD/WD (Other) Tort                              foreclosure)                                              Case (non-tort/non-complex)
      Business Tort/Unfair Business              Unlawu f l Deaner
                                                               t i                                            Other Civil Complaint
           Practice (07)                             Commercial (31)                                               (non-tort/non-complex)
      Civil Rights (e.g., discrimination,            Residential (3) 2                             Miscellaneous Civil Petition
             false arrest) (not civil                Drugs (38) (if the case involves illegal           Partnership and Corporate
             harassment) (08)                        drugs, check this item; otherwise,                      Governance (21)
                                                     report as  Commercial     or Residential)           Other Petition (not specified
      Defamation (e.g., slander, libel)
              (13)                               Judicial Review                                             above) (43)
                                                     Asset Forfeiture (05)                                   Civil Harassment
      Fraud (16)
      Intellectual Property (19)                     Petition Re: Arbitration Award 11                       Workplace Violence
                                                     Writ of Mandate     02            (
      Professional Negligence (25)                                                                           Elder/Dependent Adult
           Legal Malpractice                             Writ—Administrative Mandamus                             Abuse
                                                         Writ—Mandamus on Limited Court                      Election Contest
           Other Professional Malpractice
                                                             Case Matter                                     Petition for Name Change
                (not medical or legal)
                                                         Writ—Other Limited Court Case                       Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)
                                                             Review                                                Claim
  Employment
       Wrongful Termination (36)                     Other Judicial Review (39)                              Other Civil Petition
      Other Employment (15)                              Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                               Commissioner Appeals
CM-010 [Rev. September 1, 20211                                                                                                                Page 2 of 2
                                                          CIVIL CASE COVER SHEET
1or yourprqtecflori:and—prlvacy~ pleasepre~ss tlie Cl~                                                                             Page 177
CASE NUMBER:  CGC-23-606989 GEARY
      Case 3:24-cv-01738-EMC      SHA VS.
                              Document 1-13AIRCRAFT   SERVICEPage
                                              Filed 03/20/24  INTERNATIONAL,
                                                                  26 of 51   INC. ET AL

                                     NOTICE TO PLAINTIFF
A Case Management Conference is set for:

                 DATE:       NOV 08, 2023
                 TIME:       10:30 am

                 PLACE:      Department 610
                             400 McAllister Street
                             San Francisco, CA 94102-3680
All parties must appear and comply with Local Rule 3.

 CRC 3.725 requires the filing and service of a case management statement form CM-110
 no later than 15 days before the case management conference. However, it would facilitate
 the issuance of a case management order without an appearance at the case
 management conference if the case management statement is filed and served twenty-five
 days before the case management conference.

Plaintiff must serve a copy of this notice upon each party to this action with the summons and
complaint. Proof of service subsequently filed with this court shall so state. This case is
eligible for electronic filing and service per Local Rule 2.11. For more information,
please visit the Court's website at www.sfsuperiorcourt.org under Online Services.
[DEFENDANTS: Attending the Case Management Conference does not take the place
of filing a written response to the complaint. You must file a written response with the
court within the time limit required by law. See Summons.]

                 ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS

  IT IS THE POLICY OF THE SUPERIOR COURT THAT EVERY CIVIL CASE SHOULD PARTICIPATE IN
  MEDIATION, ARBITRATION, NEUTRAL EVALUATION, AN EARLY SETTLEMENT CONFERENCE, OR
  OTHER APPROPRIATE FORM OF ALTERNATIVE DISPUTE RESOLUTION PRIOR TO A TRIAL.


  (SEE LOCAL RULE 4)


Plaintiff must serve a copy of the Alternative Dispute Resolution (ADR) Information Package
on each defendant along with the complaint. (CRC 3.221.) The ADR package may be
accessed at www.sfsuperiorcourt.org/divisions/civil/dispute-resolution or you may request a
paper copy from the filing clerk. All counsel must discuss ADR with clients and opposing
counsel and provide clients with a copy of the ADR Information Package prior to filing
the Case Management Statement.
Superior Court Alternative Dispute Resolution Administrator
400 McAllister Street, Room 103-A
San Francisco, CA 94102
(415) 551-3869


See Local Rules 3.3, 6.0 C and 10 B re stipulation to judge pro tem.

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        1    CHRISTOPHER WARD, CA Bar No. 238777
               cward@foley.com
        2    FOLEY & LARDNER LLP
                                                                                    ELECTRONICALLY
             555 SOUTH FLOWER STREET, SUITE 3300
        3    LOS ANGELES, CA 90071-2418                                                 FILED
             TELEPHONE: 213.972.4500                                                Superior Court of California,
                                                                                     County of San Francisco
        4    FACSIMILE: 213.486.0065
                                                                                         08/04/2023
        5    KEVIN JACKSON, CA Bar No. 278169                                       Clerk of the Court
                                                                                        BY: EDWARD SANTOS
               kjackson@foley.com                                                                 Deputy Clerk
        6    FOLEY & LARDNER LLP
             11988 EL CAMINO REAL, SUITE 400
        7    SAN DIEGO, CA 92130-2594
             TELEPHONE: 858.847.6700
        8    FACSIMILE: 858.792.6773
        9    Attorneys for Defendants AIRCRAFT SERVICE
             INTERNATIONAL, INC.; MENZIES AVIATION
       10    (USA), INC.; and TRACY AGUILAR
       11
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
       12
                                           FOR THE COUNTY OF SAN FRANCISCO
       13

       14
             GEARY SHA, AN INDIVIDUAL;                       CASE NO: CGC-23-606989
       15
                          PLAINTIFF,                         DEFENDANTS AIRCRAFT SERVICE
       16                                                    INTERNATIONAL, INC.; MENZIES
                    V.                                       AVIATION (USA), INC. AND TRACY
       17                                                    AGUILAR’S ANSWER TO COMPLAINT
             AIRCRAFT SERVICE INTERNATIONAL, INC.,
       18    A DELAWARE CORPORATION; MENZIES
             AVIATION (USA), INC., A DELAWARE
       19    CORPORATION; TRACY AGUILAR, AN                  CASE FILED: JUNE 9, 2023
             INDIVIDUAL; AND DOES 1 THROUGH 50, INCLUSIVE;
       20
                          DEFENDANTS.
       21

       22

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                                                           1
                                           DEFENDANTS’ ANSWER TO COMPLAINT
                                                 CASE NO. CGC-23-606989                          Page 179
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                   Case 3:24-cv-01738-EMC           Document 1-13         Filed 03/20/24       Page 28 of 51



        1           Defendants AIRCRAFT SERVICE INTERNATIONAL, INC. (hereinafter referred to as
        2    “ASIG”); MENZIES AVIATION (USA), INC. (hereinafter referred to as “Menzies”) and TRACY
        3    AGUILAR (hereinafter referred to as “Aguilar”) (collectively, “Defendants”) hereby answer Plaintiff
        4    GEARY SHA’s (“Plaintiff”) Complaint on file as follows herein:
        5                                               GENERAL DENIAL
        6           Pursuant to Code of Civil Procedure section 431.30(d), Defendants deny generally and
        7    specifically, conjunctively and disjunctively, each and every allegation of the Complaint, including, but
        8    not limited to, each and every purported cause of action contained therein (including denying the
        9    existence of each and every element of each and every cause of action).
       10           Further answering the Complaint, and the whole thereof, Defendants deny that Plaintiff has
       11    sustained any injury, damage, or loss, if any, by reason of any act or omission of Defendants.
       12                                           AFFIRMATIVE DEFENSES
       13           Defendants hereby assert the following separate and distinct affirmative defenses to the
       14    Complaint:
       15                                       FIRST AFFIRMATIVE DEFENSE
       16                                             (Failure to State a Claim)
       17           1.      Plaintiff has failed to meet his burden inasmuch as the Complaint, and each of its
       18    purported causes of action, fails to state facts sufficient to constitute a cause of action against
       19    Defendants.
       20                                      SECOND AFFIRMATIVE DEFENSE
       21                        (Failure to State a Claim Upon Which Relief Can Be Granted)
       22           2.      Plaintiff has failed to meet his burden inasmuch as the allegations contained in the
       23    Complaint, or any purported cause of action alleged therein, fail to state a claim upon which relief can
       24    be granted.
       25                                       THIRD AFFIRMATIVE DEFENSE
       26                                                (Failure to Exhaust)
       27           3.      Plaintiff has failed to meet his burden inasmuch as any recovery based on allegations
       28    against Defendants are barred by Plaintiff’s failure to exhaust all administrative remedies.
                                                               1
                                               DEFENDANTS’ ANSWER TO COMPLAINT
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                   Case 3:24-cv-01738-EMC          Document 1-13          Filed 03/20/24    Page 29 of 51



        1                                     FOURTH AFFIRMATIVE DEFENSE
        2                                                (Waiver/Estoppel)
        3           4.      Plaintiff has failed to meet his burden inasmuch as some or all of the allegations against
        4    Defendants are barred by the doctrines of waiver and equitable estoppel by reasons of Plaintiff’s own
        5    actions and course of conduct.
        6                                      FIFTH AFFIRMATIVE DEFENSE
        7                                                 (Unclean Hands)
        8           5.      Any recovery on the allegations against Defendants are barred on the grounds that
        9    Plaintiff has unclean hands with respect to the matters alleged in the Complaint.
       10                                      SIXTH AFFIRMATIVE DEFENSE
       11                                                     (Mistake)
       12           6.      The allegations against are Defendants barred, in whole or in part, by the doctrine of
       13    mistake.
       14                                     SEVENTH AFFIRMATIVE DEFENSE
       15                                             (No Improper Purpose)
       16           7.      Plaintiff’s claims are barred, in whole or in part, because Defendants did not act with any
       17    improper purpose.
       18                                     EIGHTH AFFIRMATIVE DEFENSE
       19                                               (Failure to Mitigate)
       20           8.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff had and continues to
       21    have the ability and opportunity to mitigate the damages alleged with respect to the subject matter of this
       22    litigation, and it has failed and refused to mitigate the damages.
       23                                      NINTH AFFIRMATIVE DEFENSE
       24                                                   (Good Faith)
       25           9.      Plaintiff’s claims are barred, in whole or in part, because Defendants at all times acted in
       26    good faith.
       27    ///
       28    ///
                                                                   2
                                               DEFENDANTS’ ANSWER TO COMPLAINT
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                   Case 3:24-cv-01738-EMC            Document 1-13         Filed 03/20/24       Page 30 of 51



        1                                        TENTH AFFIRMATIVE DEFENSE
        2                                                     (No Damages)
        3           10.       Plaintiff’s claims are barred, in whole or in part, because Plaintiff has suffered no damage
        4    by any acts, events or occurrences alleged in the Complaint, whether or not attributable to Defendants.
        5                                     ELEVENTH AFFIRMATIVE DEFENSE
        6                                                (No Punitive Damages)
        7           11.       Plaintiff may not recover punitive damages because, at all times relevant to the
        8    Complaint, Defendants acted without malice.
        9                                     TWELFTH AFFIRMATIVE DEFENSE
       10                                                   (Excessive Fines)
       11           12.       Plaintiff has failed to meet his burden inasmuch as an award of statutory and/or civil
       12    penalties under the circumstances of this case would constitute an excessive fine and otherwise would be
       13    in violation of Defendants’ due process and other rights under the United States and California
       14    Constitutions.
       15                                   THIRTEENTH AFFIRMATIVE DEFENSE
       16                                                 (Unjust Enrichment)
       17           13.       Plaintiff will be unjustly enriched if it receives any of the relief requested in his
       18    Complaint.
       19                                   FOURTEENTH AFFIRMATIVE DEFENSE
       20                                             (After-Acquired Evidence)
       21           14.       To the extent Defendants subsequently acquire evidence refuting Plaintiff’s claims, such
       22    after-acquired evidence shall accordingly bar Plaintiff’s claims on liability or damages or shall reduce
       23    such claims or damages as provided by law.
       24                                    FIFTEENTH AFFIRMATIVE DEFENSE
       25                                       (Workers’ Compensation Preemption)
       26           15.       Plaintiff’s allegations of emotional or physical injury are barred, as this Court lacks
       27    jurisdiction, and any recovery is barred by the exclusivity of remedy under California Labor Code
       28    section 3602, et seq.
                                                                     3
                                                DEFENDANTS’ ANSWER TO COMPLAINT
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                   Case 3:24-cv-01738-EMC          Document 1-13         Filed 03/20/24      Page 31 of 51



        1                                   SIXTEENTH AFFIRMATIVE DEFENSE
        2                         (Legitimate, Nondiscriminatory & Nonretaliatory Reasons)
        3           16.     Plaintiff has failed to meet his burden inasmuch as the conduct for which Plaintiff
        4    complains was not based on Plaintiff’s alleged characteristics, but was based on one or more legitimate,
        5    nondiscriminatory, and nonretaliatory reasons.
        6                                SEVENTEENTH AFFIRMATIVE DEFENSE
        7                               (Right to Assert Additional Affirmative Defenses)
        8           17.     Defendants presently have insufficient knowledge or information on which to form a
        9    belief as to whether they may have additional, as yet unstated, affirmative defenses available.
       10    Defendants reserve the right to assert any other defenses, in law or in equity, that may exist or in the
       11    future be available based on the discovery and further factual investigation of this case.
       12

       13                                                     PRAYER
       14           WHEREFORE, Defendants pray for judgment against Plaintiff on the Complaint as follows:
       15           1.      That Plaintiff takes nothing by way of his Complaint;
       16           2.      That the Complaint against Defendants be dismissed with prejudice;
       17           3.      That Defendants be awarded costs and attorneys’ fees;
       18           4.      That the Court grant to Defendants such other and further relief as the Court may deem
       19    just and proper.
       20

       21
             DATE: AUGUST 4, 2023                             FOLEY & LARDNER LLP
       22                                                     CHRISTOPHER WARD
                                                              KEVIN JACKSON
       23

       24

       25                                                     By: ______________________________________
                                                                  CHRISTOPHER WARD
       26                                                         Attorneys for Defendants AIRCRAFT SERVICE
                                                                  INTERNATIONAL, INC.; MENZIES AVIATION
       27                                                         (USA), INC.; and TRACY AGUILAR
       28
                                                                  4
                                              DEFENDANTS’ ANSWER TO COMPLAINT
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                   Case 3:24-cv-01738-EMC         Document 1-13        Filed 03/20/24      Page 32 of 51



        1                                             PROOF OF SERVICE
        2    I am employed in the County of San Diego, State of California. I am over the age of 18 and not a party
             to this action; my current business address is 11988 El Camino Real, Suite 400, San Diego, CA 92130-
        3    2594.
        4    On August 4, 2023, I served the foregoing document(s) described as: DEFENDANTS AIRCRAFT
             SERVICE INTERNATIONAL, INC.; MENZIES AVIATION (USA), INC. AND TRACY
        5    AGUILAR’S ANSWER TO COMPLAINT on the interested parties in this action as follows:
        6
              F. Shawn Azizollahi                                  Attorneys for Plaintiff Geary Sha
        7     Gary Brotman
              Marquee Law Group, APC
        8     9100 Wilshire Boulevard
              Suite 445 East Tower
        9     Beverly Hills, CA 90212
              Telephone: 310-275-1844
       10     Facsimile: 310-275-1801
              Email: shawn@marqueelaw.com
       11            gary@marqueelaw.com
       12

       13      X      BY MAIL
       14             X       I am readily familiar with the firm’s practice of collection and processing
                              correspondence for mailing with the United States Postal Service; the firm
       15                     deposits the collected correspondence with the United States Postal Service that
                              same day, in the ordinary course of business, with postage thereon fully prepaid,
       16                     at San Diego, California. I placed the envelope(s) for collection and mailing on
                              the above date following ordinary business practices.
       17
               X      BY E-MAIL
       18             X    I served the foregoing document via e-mail to the addressees above at the e-mail
                           addresses listed therein.
       19
               X      Executed on August 4, 2023, at San Diego, California.
       20
               X              I declare under penalty of perjury under the laws of the State of California that
       21                     the above is true and correct.
               X              I declare that I am employed in the office of a member of the bar of this court at
       22                     whose direction the service was made.
       23
                                                             Sonia Moreno
       24

       25

       26

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                                                             1
                                             DEFENDANTS’ ANSWER TO COMPLAINT
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                                                                                  ELECTRONICALLY
                                                                                      FILED
                                                                                  Superior Court of California,
                                                                                   County of San Francisco

                                                                                      10/10/2023
                                                                                  Clerk of the Court
                                                                                     BY: YOLANDA TABO
                                                                                               Deputy Clerk




                     July 5, 2023

Kevin Jackson, Counsel for Menzies Aviation (USA), Inc.




                                                                                               Page 185
                     Case 3:24-cv-01738-EMC                      Document 1-13         Filed 03/20/24           Page 34 of 51

 ATTORNEY OR PARTY WITHOUT ATTORNEY:                       SlATE BAR NO
                                                                          --
                                                                          268116                                     FOR COURT USE ONLY
                                                                                                                                                POS-015

 NAME.     Gary S. ~rotman
 nnMNAME       Marquee Law Group, A.P .C.
  STREET ADDRESS: 9100 Wilshire Blvd ., Suite 445 East Tower
  CITY Beverly Hills                                   STATE· CA     ZIP CODE: 90212
  TEI.EPHONE NO · 310-275-1844                        FIIX NO  310-275-1801
                                                                                                                    ELECTRONICALLY
  !:· MAIL ADDRESS gary@mart~ueelaw .com

 1ATTORNEY roR (N!>mt!)' Geary Sha                                                                                      FILED
                                                                                                                    Superior Court of California,
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco                                                               County of San Francisco
     STREET ADDRESS:     400 McAllister Street
  MAILING AOORESS:                                                                                                      10/10/2023
 CITY AND ZIP CODE:        San Francisco, CA 94102                                                                  Clerk of the Court
                                                                                                                       BY: YOLANDA TABO
       RRIINCH NAME:     Civic Center Courthouse
                                                                                                                                 Deputy Clerk
          Plaintiff/Petitioner: Geary Sha
 Defendant/Respondent: Aircraft Service International, Inc., et al.
                                                                                                      CASE NUMBER
                  NOTICE AND ACKNOWLEDGMENT OF RECEIPT- CIVIL                                         CGC-23-606989


TO (insert name ef patty being served): .:.,
                                        T:.:;ra:;:
                                                C:z.Y~
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                                                             ila:;::r_ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ __ _



                                                                            NOTICE
       The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
       Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
       (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
       on you in any other manner permitted by law.
      If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
      form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
      entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
      summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
      acknowledgment of receipt below.


Date of mailing: 6/14/2023
                         ----------------- ---
                                   Gary S. Brotman
                                   (TYPE OR PRINT NAMF.)



                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.    0       A copy of the summons and of the complaint.
2. [    x:J Other (specify):
              CIVIL CASE COVER SHEET; ADR INFORMATION
              PACKAGE; AND NOTICE AND ACKNOWLEDGEMENT OF RECEIPT · CIVIL


(To be completed by recipient):

Date this form is signed: -'!.
                            J ;!,!.
                               ul!.1'y....:o5"'.,:;2~
                                                    0:.:
                                                      23~--------­

          Kevin Jackson, Counsel for Defendant Tracy Aguilar
                (lYPE OR PRINT YOUR NAME liND NAME OF ENTITY,IF ANY,                    (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                       ON WHOSE BEHIILr Tl US FORM IS SIGN!< D)                      ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTIIER PERSON OR ENTITY)




                                                                                                                                                    Page 1 of 1

Form Adopted !Of Mandatory Use                                                                                                         Codo of C1vil PtOCedure,
Jud1c1a1 Council or CaiJtornia
                                           NOTICE AND ACKNOWLEDGMENT OF RECEIPT -                        CIVIL                              §§ 41 5.30, 417.10
POS.01 S lfiev. January 1. 2005)                                                                                                          www.couttmro.ca.gov
                                                                                                                                 Page 186
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                                                                                                                                                        CM-110
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                   FOR COURT USE ONLY
Christopher Ward (CA Bar No. 238777); Kevin Jackson (CA Bar No. 278169);
William N. Lawther (CA Bar No. 335000)
FOLEY & LARDNER LLP
555 South Flower Street, Suite 3300, Los Angeles, CA 90071
                                                                                                                            ELECTRONICALLY
            TELEPHONE NO.:   (213) 972-4500                   FAX NO. (Optional):   (213) 486-0065                              FILED
           E-MAIL ADDRESS: cward@foley.com; kjackson@foley.com; wlawther@foley.com                                          Superior Court of California,
                                                                                                                             County of San Francisco
    ATTORNEY FOR (Name):     Defendants Aircraft Service International, Inc., et al.
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO                                                                           10/11/2023
   STREET ADDRESS:  400 McAllister St.                                                                                      Clerk of the Court
                                                                                                                               BY: EDWARD SANTOS
  MAILING ADDRESS: 400 McAllister St.
                                                                                                                                         Deputy Clerk
 CITY AND ZIP CODE: San Francisco 94102

     BRANCH NAME: Civic Center Courthouse

      PLAINTIFF/PETITIONER: Geary Sha
 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.

                                  CASE MANAGEMENT STATEMENT                                                  CASE NUMBER:

(Check one):                  UNLIMITED CASE                         LIMITED CASE
                                                                                                             CGC-23-606989
                              (Amount demanded                      (Amount demanded is $25,000
                              exceeds $25,000)                      or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: November 8, 2023                          Time: 10:30 am              Dept.: 610               Div.:                          Room:
Address of court (if different from the address above):


          Notice of Intent to Appear by Telephone, by (name): Kevin Jackson; William Lawther
              INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
     a.           This statement is submitted by party (name):
     b.           This statement is submitted jointly by parties (names): Aircraft Service International, Inc.; Menzies Aviation (USA),
           Inc. and Tracy Aguilar.
2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
     a. The complaint was filed on (date):
   b.        The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
     a.           All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
     b.           The following parties named in the complaint or cross-complaint
                  (1)             have not been served (specify names and explain why not):


                  (2)             have been served but have not appeared and have not been dismissed (specify names):


                  (3)             have had a default entered against them (specify names):

     c.           The following additional parties may be added (specify names, nature of involvement in case, and date by which
                  they may be served):

4. Description of case
    a.     Type of case in              complaint                  cross-complaint            (Describe, including causes of action):
           Plaintiff's Complaint alleges claims for Disability Discrimination, Harassment and Hostile Work Environment,
           Failure to Prevent Discrimination and Harassment, and Retaliation in Violation of Gov. Code § 12900 et seq., and
           Wrongful Termination in Violation of Public Policy.
                                                                                                                                                            Page 1 of 5

Form Adopted for Mandatory Use                                                                                                                    Cal. Rules of Court,
Judicial Council of California                       CASE MANAGEMENT STATEMENT                                                                     rules 3.720–3.730
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                                                                                                                                          CM-110
      PLAINTIFF/PETITIONER: Geary Sha                                                                CASE NUMBER:

 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                  CGC-23-606989
4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
           Plaintiff alleges discrimination, harassment, retaliation, and wrongful termination in connection with his employment
           at Defendants Aircraft Service International, Inc. and/or Menzies Aviation (USA), Inc. Plaintiff seeks general and
           special damages, punitive damages, costs and fees, and interest. Defendants deny that Plaintiff is entitled to any
           relief for his claims.
        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
     The party or parties request         a jury triaI             a nonjury trial.    (If more than one party, provide the name of each party
     requesting a jury trial):


6. Trial date
     a.          The trial has been set for (date):
     b.          No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):


     c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a.       days (specify number): 3-5
     b.           hours (short causes) (specify):

8. Trial representation (to be answered for each party)
    The party or parties will be represented at trial             by the attorney or party listed in the caption          by the following:
    a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                         f.   Fax number:
     e. E-mail address:                                                           g. Party represented:
             Additional representation is described in Attachment 8.
9. Preference
          This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.

          (1) For parties represented by counsel: Counsel           has           has not provided the ADR information package
              identified in rule 3.221 to the client and reviewed ADR options with the client.
          (2) For self-represented parties: Party          has          has not reviewed the ADR information package identified in rule 3.221.
     b. Referral to judicial arbitration or civil action mediation (if available).
        (1)     This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                statutory limit.
           (2)       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                     Civil Procedure section 1141.11.
           (3)       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                     mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


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      PLAINTIFF/PETITIONER: Geary Sha                                                              CASE NUMBER:

 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                CGC-23-606989

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):




                                  The party or parties completing If the party or parties completing this form in the case have agreed to
                                  this form are willing to          participate in or have already completed an ADR process or processes,
                                  participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                                  processes (check all that apply): stipulation):

                                                                          Mediation session not yet scheduled
                                                                          Mediation session scheduled for (date):
     (1) Mediation
                                                                          Agreed to complete mediation by (date):
                                                                          Mediation completed on (date):

                                                                          Settlement conference not yet scheduled

     (2) Settlement                                                       Settlement conference scheduled for (date):
         conference                                                       Agreed to complete settlement conference by (date):
                                                                          Settlement conference completed on (date):
                                                                          Neutral evaluation not yet scheduled
                                                                          Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                          Agreed to complete neutral evaluation by (date):
                                                                          Neutral evaluation completed on (date):

                                                                          Judicial arbitration not yet scheduled
   (4) Nonbinding judicial                                                Judicial arbitration scheduled for (date):
        arbitration
                                                                          Agreed to complete judicial arbitration by (date):
                                                                          Judicial arbitration completed on (date):

                                                                          Private arbitration not yet scheduled
     (5) Binding private                                                  Private arbitration scheduled for (date):
         arbitration                                                      Agreed to complete private arbitration by (date):
                                                                          Private arbitration completed on (date):

                                                                          ADR session not yet scheduled
     (6) Other (specify):                                                 ADR session scheduled for (date):
                                                                          Agreed to complete ADR session by (date):
                                                                          ADR completed on (date):




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      PLAINTIFF/PETITIONER: Geary Sha                                                                CASE NUMBER:

 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                  CGC-23-606989

11. Insurance
     a.           Insurance carrier, if any, for party filing this statement (name):
     b. Reservation of rights:            Yes            No
     c.           Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
     Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
             Bankruptcy           Other (specify):
     Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
                  (1) Name of case:
                  (2) Name of court:
                  (3) Case number:
                  (4) Status:
                  Additional cases are described in Attachment 13a.

     b.           A motion to             consolidate                 coordinate       wiII be filed by (name party):

14. Bifurcation
             The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
             action (specify moving party, type of motion, and reasons):



15. Other motions

             The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
             Motion for Summary Judgement/Summary Adjudication.


16. Discovery
     a.           The party or parties have completed all discovery.
     b.           The following discovery will be completed by the date specified (describe all anticipated discovery):
               Party                                    Description                                                           Date
               Defendants                               Written discovery                                                     Per Code
               Defendants                               Plaintiff's deposition                                                Per Code
               Defendants                               Third-Party discovery                                                 Per Code



     c.          The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




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      PLAINTIFF/PETITIONER: Geary Sha                                                               CASE NUMBER:

 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                 CGC-23-606989

17. Economic litigation
     a.           This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
     b.           This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
             The party or parties request that the following additional matters be considered or determined at the case management
             conference (specify):




19. Meet and confer
     a.           The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):




     b.           After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                  (specify):




20. Total number of pages attached (if any):           0
I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.

Date: October 11, 2023

Kevin Jackson                                                                  
                            (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY)



                                                                               
                            (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                        Additional signatures are attached.




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 1                                            PROOF OF SERVICE
 2   I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not a
     party to this action; my current business address is 555 South Flower Street, Suite 3300, Los Angeles,
 3   CA 90071.
 4   On October 11, 2023, I served the foregoing document(s) described as: CASE MANAGEMENT
     STATEMENT on the interested parties in this action as follows:
 5

 6    F. Shawn Azizollahi                                  Attorneys for Plaintiff Geary Sha
      Gary Brotman
 7    Marquee Law Group, APC
      9100 Wilshire Boulevard
 8    Suite 445 East Tower
      Beverly Hills, CA 90212
 9    Telephone: 310-275-1844
      Facsimile: 310-275-1801
10    Email: shawn@marqueelaw.com
             gary@marqueelaw.com
11

12     X      BY E-MAIL
              X    I served the foregoing document via e-mail to the addressees above at the e-mail
13                 addresses listed therein.
14
       X      Executed on October 11, 2023, at Los Angeles, California.
15
       X              I declare under penalty of perjury under the laws of the State of California that
16                    the above is true and correct.
       X              I declare that I am employed in the office of a member of the bar of this court at
17                    whose direction the service was made.
18

19
                                                     SHEILA D. BROWN
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                                                      1
                                        CASE MANAGEMENT STATEMENT                              Page 192
                                            CASE NO. CGC-23-606989
                    Case 3:24-cv-01738-EMC                          Document 1-13               Filed 03/20/24            Page 41 of 51
                                                                                                                                                          CM-110
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                              FOR COURT USE ONLY
  Gary Brotman (SBN 287726)
  MARQUEE LAW GROUP, A Professional Corporation
  9100 Wilshire Boulevard, Suite 445 East Tower
  Beverly Hills, California 90212

             TELEPHONE NO.:       (310) 275-1844               FAX NO. (Optional):   (310) 275-1801
                                                                                                                              ELECTRONICALLY
             E-MAIL ADDRESS: gary@marqueelaw.com                                                                                  FILED
      ATTORNEY FOR (Name):Geary Sha                                                                                           Superior Court of California,
                                                                                                                               County of San Francisco
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 STREET ADDRESS:400 McAllister St.                                                                                                10/25/2023
 MAILING ADDRESS:                                                                                                             Clerk of the Court
CITY AND ZIP CODE:San Francisco 94102                                                                                            BY: DAEJA ROGERS
                                                                                                                                            Deputy Clerk
      BRANCH NAME:Civic Center Courthouse

           PLAINTIFF/PETITIONER:Geary Sha
 DEFENDANT/RESPONDENT:Aircraft Service International, Inc., et al.

                              CASE MANAGEMENT STATEMENT                                                        CASE NUMBER:
                                                                                                               CGC-23-606989
(Check one):            ✖     UNLIMITED CASE                         LIMITED CASE
                              (Amount demanded                       (Amount demanded is $25,000
                              exceeds $25,000)                       or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: November 8, 2023                             Time: 10:30 am            Dept.: 610                Div.:                          Room:
Address of court (if different from the address above):

  ✖        Notice of Intent to Appear by Telephone, by (name): Gary S. Brotman
               INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
   a.   ✖   This statement is submitted by party (name): Geary Sha
      b.          This statement is submitted jointly by parties (names):
2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
      a. The complaint was filed on (date): June 09, 2023
   b.       The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a.   ✖   All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
      b.          The following parties named in the complaint or cross-complaint
                  (1)             have not been served (specify names and explain why not):

                  (2)             have been served but have not appeared and have not been dismissed (specify names):


                  (3)             have had a default entered against them (specify names):

      c.          The following additional parties may be added (specify names, nature of involvement in case, and date by which
                  they may be served):




4. Description of case
   a. Type of case in                ✖    complaint                 cross-complaint             (Describe, including causes of action):
Employment matter with 6 COA including: (1) Disability Discrimination in Violation of Cal. Gov. Code Section 12900 et seq.; (2) Harassment and
Hostile Work Environment in Violation of Cal. Gov. Code Section 12900 et seq.; (3) Failure to Prevent Discrimination and Harassment in Violation
of Cal. Gov. Code Section 12900 et seq.; (4) Retaliation in Violation of Cal. Gov. Code Section 12900 et seq.; (5) Wrongful Termination In Violation
of Public Policy (Count I); and (6) Wrongful Termination In Violation of Public Policy (Count II).                                             Page 1 of 5

                                                                                                                                                    Cal. Rules of Court,
Form Adopted for Mandatory Use
Judicial Council of California
                                                        CASE MANAGEMENT STATEMENT                                                                    rules 3.720–3.730
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        PLAINTIFF/PETITIONER: Geary Sha                                                                               CASE NUMBER:

   DEFENDANT/RESPONDENT:                Aircraft Service International, Inc., et al.                                    CGC-23-606989

  4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
        damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
        earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
Plaintiff had two heart valve surgeries and suffered complications, which required medical leave for several months to recover, and only upon his return he was notified
that his position as General Manager had been eliminated during his leave. Instead, he was offered entry level positions or told to resign. Plaintiff asked to return to his old
role or a comparable managerial role in another department. Defendant only offered that Plaintiff could “apply” for managerial positions out of state and that “there are no
relocation funds available.” Defendants repeatedly tried to force Plaintiff to resign to which Plaintiff refused. Defendants then wrongfully terminated Plaintiff’s employment.
          (If more space is needed, check this box and attach a page designated as Attachment 4b.)
  5. Jury or nonjury trial
     The party or parties request ✖ a jury triaI            a nonjury trial. (If more than one party, provide the name of each party
     requesting a jury trial):


  6. Trial date
      a.           The trial has been set for (date):
      b.     ✖     No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                   not, explain):


      c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):



  7. Estimated length of trial
      The party or parties estimate that the trial will take (check one):
      a.   ✖   days (specify number): 3 - 5
       b.          hours (short causes) (specify):
  8. Trial representation (to be answered for each party)
      The party or parties will be represented at trial                ✖     by the attorney or party listed in the caption                     by the following:
      a. Attorney:
       b. Firm:
      c. Address:
       d. Telephone number:                                                                   f.   Fax number:
       e. E-mail address:                                                                     g. Party represented:
              Additional representation is described in Attachment 8.
  9. Preference
              This case is entitled to preference (specify code section):
  10. Alternative dispute resolution (ADR)
      a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
          the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
          processes available through the court and community programs in this case.
        (1) For parties represented by counsel: Counsel            ✖    has           has not provided the ADR information package identified
            in rule 3.221 to the client and reviewed ADR options with the client.
        (2) For self-represented parties: Party             has          has not reviewed the ADR information package identified in rule 3.221.
      b. Referral to judicial arbitration or civil action mediation (if available).
         (1)       This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.
         (2)       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                   Civil Procedure section 1141.11.
         (3) ✖ This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                   mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):
                   California Rules of Court, Rule 3.811(b)(8) [amount in controversy exceeds $50,000]
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 DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                   CGC-23-606989


10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):




                                  The party or parties completing If the party or parties completing this form in the case have agreed to
                                  this form are willing to          participate in or have already completed an ADR process or processes,
                                  participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                                  processes (check all that apply): stipulation):
                                                                      ✖   Mediation session not yet scheduled
                                                                          Mediation session scheduled for (date):
    (1) Mediation                                ✖
                                                                          Agreed to complete mediation by (date):
                                                                          Mediation completed on (date):

                                                                          Settlement conference not yet scheduled
    (2) Settlement                                                        Settlement conference scheduled for (date):
        conference                                                        Agreed to complete settlement conference by (date):
                                                                          Settlement conference completed on (date):

                                                                          Neutral evaluation not yet scheduled
                                                                          Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                          Agreed to complete neutral evaluation by (date):
                                                                          Neutral evaluation completed on (date):

                                                                          Judicial arbitration not yet scheduled
  (4) Nonbinding judicial                                                 Judicial arbitration scheduled for (date):
       arbitration                                                        Agreed to complete judicial arbitration by (date):
                                                                          Judicial arbitration completed on (date):

                                                                          Private arbitration not yet scheduled
    (5) Binding private                                                   Private arbitration scheduled for (date):
        arbitration                                                       Agreed to complete private arbitration by (date):
                                                                          Private arbitration completed on (date):

                                                                          ADR session not yet scheduled
                                                                          ADR session scheduled for (date):
    (6) Other (specify):
                                                                          Agreed to complete ADR session by (date):
                                                                          ADR completed on (date):




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      PLAINTIFF/PETITIONER: Geary Sha                                                                CASE NUMBER:

 DEFENDANT/RESPONDENT:             Aircraft Service International, Inc., et al.                       CGC-23-606989

11. Insurance
    a.           Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:            Yes             No
    c.           Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
          Bankruptcy              Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
                 (1) Name of case:
                 (2) Name of court:
                 (3) Case number:
                 (4) Status:
                  Additional cases are described in Attachment 13a.

    b.            A motion to            consolidate                 coordinate       wiII be filed by (name party):

14. Bifurcation
            The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
            action (specify moving party, type of motion, and reasons):




15. Other motions

            The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):




16. Discovery
    a.            The party or parties have completed all discovery.
    b.      ✖     The following discovery will be completed by the date specified (describe all anticipated discovery):
                Party                                  Description                                                                Date
    Plaintiff                                          Written Discovery                                               Per Code
    Plaintiff                                          Deposition                                                      Per Code
    Plaintiff                                          Expert Discovery                                                Per Code




    c.           The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




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                PLAINTIFF/PETITIONER: Geary Sha                                                               CASE NUMBER:

           DEFENDANT/RESPONDENT: Aircraft Service International, Inc., et al.                                   CGC-23-606989


          17. Economic litigation
              a.            This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                            of Civil Procedure sections 90-98 will apply to this case.
              b.            This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                            discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                            should not apply to this case):




          18. Other issues
                      The party or parties request that the following additional matters be considered or determined at the case management
                      conference (specify):




          19. Meet and confer
               a.     ✖    The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                           of Court (if not, explain):




               b.          After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                           (specify):




          20. Total number of pages attached (if any):
          I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
          as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
          the case management conference, including the written authority of the party where required.

          Date: October 25, 2023

              Gary S. Brotman

                                      (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY)




                                      (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                                 Additional signatures are attached.




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                                                             CASE MANAGEMENT STATEMENT


ction and privacy, please press the Clear This Form button after you have printed
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 1                                         PROOF OF SERVICE

 2        I declare that I am over the age of eighteen (18) and not a party to this action. My business
   address is 9100 Wilshire Boulevard, Suite 445, East Tower, Beverly Hills, California 90212.
 3               On October 25, 2023 I served the foregoing document(s) described as:
 4                                CASE MANAGEMENT STATEMENT

 5 on all interested parties in this action by transmitting a true copy of the document(s) described
      above, addressed as follows:
 6                                   SEE ATTACHED SERVICE LIST
 7    ( )    BY MAIL as follows: I am “readily familiar” with the firm’s practice of collection and
             processing of correspondence for mailing with the United States Postal Service. I know
 8           that the correspondence was deposited with the United States Postal Service on the same
 9           day this declaration was executed in the ordinary course of business. I know that the
             envelope was sealed and, with postage thereon fully prepaid, placed for collection and
10           mailing on this date in the United States mail at Beverly Hills, California.
      ( )    BY PERSONAL SERVICE: I caused to be delivered such envelope by hand to the
11
             above addressee(s).
12    ( )    BY OVERNIGHT COURIER: I am “readily familiar” with the firm’s practice of
             collecting and processing overnight deliveries, which includes depositing such packages in
13
             a receptacle used exclusively for overnight deliveries. The packages were deposited
14           before the regular pickup time and marked accordingly for delivery the next business day.
      (X)    BY ELECTRONIC TRANSMISSION: Participants in this case were served
15           electronically to the address of the recipient(s) as set forth below. I am readily familiar
             with the Code of Civil Procedure and California Rules of Court for electronic service and
16           this document/these documents were duly served electronically in accordance with said
             rules and regulations on the date stated above, and the transmission was reported as
17
             complete and without error.
18
             I declare under penalty of perjury under the laws of the State of California that the above is
19 true and correct. Executed on October 25, 2023 at Beverly Hills, California.
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21                                                               __________________________
                                                                   Kimberly Gomez Garcia
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                                             PROOF OF SERVICE                            Page 198
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      SERVICE LIST:
 1     FOLEY & LARDNER LLP                            Attorneys for Defendant AIRCRAFT SERVICE
 2     c/o Christopher Ward, Esq.                     INTERNATIONAL, INC.; MENZIES
       c/o Kevin Jackson, Esq.                        AVIATION (USA), INC.; and TRACY
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 6     WLawther@foley.com

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                              SUPERIOR COURT OF CALIFORNIA
                                 COUNTY OF SAN FRANCISCO
                         400 MCALLISTER STREET, SAN FRANCISCO, CA 94102-4514

GEARY SHA                                                           Case Management Department 610
                                                                         Case Management Order
                                              PLAINTIFF (S)

                                VS.                                         NO.: CGC-23-606989

AIRCRAFT SERVICE INTERNATIONAL, INC. et
al                                                                   Notice of Time and Place of Trial
                                                                         and Trial Related     Orders
                                           DEFENDANT         (S)



TO: ALL COUNSEL AND SELF-REPRESENTED                         LITIGANTS

YOU ARE HEREBY NOTIFIED that this case is set for Court TRIAL on Ju!-08-2024 at 9:30 am in
Department 206. The Nov-08-2023 CASE MANAGEMENT CONFERENCE is canceled.

If any party objects to this trial date, written notice of the objection must be filed with the Court at least
three days prior to Nov-08-2023; a courtesy copy must be delivered to Department 610 and served on all
parties; and all counsel must appear for an objection hearing on Nov-08-2023 in Department 610 at
10:30am. All parties must meet and confer and be prepared to jointly provide the Court with a new trial
date. After Nov-08-2023, ALL REQUESTS FOR CONTINUANCE MUST BE SUBMITTED TO THE
PRESIDING JUDGE in Department 206.

MANDATORY SETTLEMENT CONFERENCE
No later than six weeks before trial, ALL COUNSEL AND SELF REPRESENTED LITIGANTS must
JOINTLY emai! the ADR Coordinator for the San Francisco Superior Court at
ADRCOORDINATOR@SFTC.ORG to schedule a Mandatory Settlement Conference. The email MUST
contain the following:
  1. Party Name and Attorney Name (if represented);
  2. Case title and number, trial date and expected length of trial (including motions in limine and
      jury selection;
  3. Whether trial is by court or jury;
  4. Abrief description of the case; and
  5. The dates(s) before trial when all parties will be ready for a Mandatory Settlement Conference.

INFORMATION NECESSARY BEFORE THE DAY OF TRIAL CALL
Seven to fourteen days before trial, ALL COUNSEL AND SELF REPRESENTED LITIGANTS ARE
ORDERED to email the court at Department206@sftc.org or call 415-551-3685 and provide the same
information in items #1 to #4 above and, in addition, whether the case has settled.       If the case has settled,
counsel and self-represented litigants must state whether the settlement is a global settlement as to all
parties and all causes of action, and whether the settlement is conditional or unconditional.

TRIAL CALL
Counsel, self-represented litigants and all parties MUST appear on the day of trial unless a Notice of
Dismissal, Settlement, or Stay is filed with courtesy copies delivered to Department 206 by 4:00 PM on
the Thursday before trial.

If the trial date is continued, this order applies to the new trial date. Failure to comply with this order may
result in monetary sanctions, C.C.P. §177.5.
DATED:      OCT-26-2023                                ANNE-CHRISTINE MASSULLO
                                                        JUDGE OF THE SUPERIOR COURT
Notice of Time and Place of Trial and Trial Related Orders                                       Page 200
Form 000001
  Case 3:24-cv-01738-EMC
CERTIFICATE OF SERVICE BY MAIL
                                              Document 1-13                Filed 03/20/24            Page 49 of 51
|, the undersigned, certify that | am an employee of the Superior Court of California, County of San Francisco and not a party to
the above-entitled cause and that on OCT-26-2023 | served the attached Notice of Time and Place of Trial and Trial Related
Orders by placing a copy thereof in an envelope addressed to all parties to this action as listed below. | then placed the envelope
in the outgoing mail at 400 McAllister Street, San Francisco, CA 94102, on the date indicated above for collection, sealing of the
envelope, attachment of required prepaid postage, and mailing on that date, following standard court practice.



Dated : OCT-26-2023                                          By: MADELLE MACADANGDANG




CHRISTOPHER WARD (238777)
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555 SOUTH FLOWER STREET
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SAN DIEGO, CA 92130-2594                                                                       CERTIFICATE OF SERVICE BY MAIL
                                                             Page 1 of 1                                       PageForm201
                                                                                                                        000001
         Case 3:24-cv-01738-EMC        Document 1-13    Filed 03/20/24   Page 50 of 51



 1   CHRISTOPHER WARD, CA Bar No. 238777
       cward@foley.com
 2   FOLEY & LARDNER LLP
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 3   LOS ANGELES, CA 90071-2418                                                FILED
     TELEPHONE: 213.972.4500                                               Superior Court of California,
                                                                            County of San Francisco
 4   FACSIMILE: 213.486.0065
                                                                               02/29/2024
 5   KEVIN JACKSON, CA Bar No. 278169                                      Clerk of the Court
                                                                              BY: ERNALYN BURA
       kjackson@foley.com                                                               Deputy Clerk
 6   FOLEY & LARDNER LLP
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 7   SAN DIEGO, CA 92130-2594
     TELEPHONE: 858.847.6700
 8   FACSIMILE: 858.792.6773
 9   Attorneys for Defendants AIRCRAFT SERVICE
     INTERNATIONAL, INC.; MENZIES AVIATION
10   (USA), INC.; and TRACY AGUILAR
11
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                                   FOR THE COUNTY OF SAN FRANCISCO
13

14
     GEARY SHA, AN INDIVIDUAL;                      CASE NO: CGC-23-606989
15
                  PLAINTIFF,                        PROOF OF SERVICE RE JOINT
16                                                  STIPULATION AND PROTECTIVE ORDER –
           V.                                       CONFIDENTIAL DESIGNATIONS ONLY
17
     AIRCRAFT SERVICE INTERNATIONAL, INC.,
18   A DELAWARE CORPORATION; MENZIES
     AVIATION (USA), INC., A DELAWARE              CASE FILED: JUNE 9, 2023
19   CORPORATION; TRACY AGUILAR, AN
     INDIVIDUAL; AND DOES 1 THROUGH 50, INCLUSIVE;
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                  DEFENDANTS.
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                                           PROOF OF SERVICE                             Page 202
                                         CASE NO. CGC-23-606989
           Case 3:24-cv-01738-EMC         Document 1-13        Filed 03/20/24      Page 51 of 51



 1                                            PROOF OF SERVICE
 2   I am employed in the County of Los Angeles, State of California. I am over the age of 18 and not a
     party to this action; my current business address is 555 South Flower Street, Suite 3300, Los Angeles,
 3   California 90071.
 4   On February 29, 2024, I served the foregoing document(s) described as: JOINT STIPULATION AND
     PROTECTIVE ORDER – CONFIDENTIAL DESIGNATIONS ONLY on the interested parties in
 5   this action as follows:
 6
      F. Shawn Azizollahi                                  Attorneys for Plaintiff Geary Sha
 7    Gary Brotman
      Marquee Law Group, APC
 8    9100 Wilshire Boulevard
      Suite 445 East Tower
 9    Beverly Hills, CA 90212
      Telephone: 310-275-1844
10    Facsimile: 310-275-1801
      Email: shawn@marqueelaw.com
11           gary@marqueelaw.com
12     X      BY E-MAIL
              X    I served the foregoing document via e-mail to the addressees above at the e-mail
13                 addresses listed therein.
14
       X      Executed on February 29, 2024, at Los Angeles, California.
15
       X              I declare under penalty of perjury under the laws of the State of California that
16                    the above is true and correct.
       X              I declare that I am employed in the office of a member of the bar of this court at
17                    whose direction the service was made.
18

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                                                     SHEILA D. BROWN
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                                               PROOF OF SERVICE                                Page 203
                                             CASE NO. CGC-23-606989
